
PER CURIAM.
AFFIRMED. See R. M. P. v. Jones, 392 So.2d 301 (Fla. 1st DCA 1980), docketed, Case No. 60,223 (Fla., orally argued Aug. 31, 1981). Our affirmance in this case is based upon the same questions addressed in R. M. P. v. Jones, supra. Pursuant to the opinion of the Florida Supreme Court in Jollie v. State, 405 So.2d 418 (Fla.1981), reh. pending, mandate in this case will be withheld during the period provided for invoking Supreme Court review and thereafter, if review is sought, pending final disposition of any petition for review herein.
McCORD, LARRY G. SMITH and WENTWORTH, JJ., concur.
